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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


JOHNNY SMITH                                                                          PLAINTIFF

VS.                                                  CIVIL CASE NO.: 4:20-cv-185-MPM-JMV

ANDREW SAUL                                                                           DEFENDANT


              ORDER CONCERNING CONSENT TO MAGISTRATE JUDGE

        It is the policy of the district judges of the Northern District of Mississippi to strongly

encourage the parties in social security disability cases to consent to have their cases handled by a

magistrate judge. Consent streamlines the legal process because the legal standard of review is

identical at all levels in the judicial review process. If the parties consent to have the case handled

by a magistrate judge, the undersigned will enter a final decision and judgment in due course. Any

appeal of this judgment must be taken directly to the Fifth Circuit Court of Appeals. If the parties

do not consent to have the case handled by a magistrate judge, the undersigned will prepare and

file a Report and Recommendation for consideration by the district judge assigned to the case. The

district judge will then enter a final decision and judgment in due course. An appeal from that

judgment is taken to the Fifth Circuit.

        Accordingly, it is

        ORDERED:

        1.   Within fifteen days of the filing of Plaintiff’s brief, the Commissioner shall initiate

contact with plaintiff’s counsel (or plaintiff if appearing pro se) to discuss consent to the

jurisdiction of the magistrate judge. If the parties consent to have a magistrate judge handle the

case, each counsel (or plaintiff if appearing pro se) shall sign the Consent to Exercise of


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Jurisdiction by a United States Magistrate Judge portion of the Notice which is an attachment with

the scheduling order and submit the signed consent form to the district judge within thirty days of

the filing of plaintiff’s brief. The district judge will sign the Order of Reference referring the case

to the appropriate magistrate judge.

        2.   If the parties do not consent to the jurisdiction of a magistrate judge, the Commissioner

shall within twenty days from the date of filing of plaintiff’s brief file a notice with the court stating

that the parties do not consent to the jurisdiction of a magistrate judge. This notice shall not

identify which party or parties withhold consent.

        ORDERED, this, the 12th day of May, 2021.



                                        /s/ Jane M. Virden
                                        UNITED STATES MAGISTRATE JUDGE




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